Case 18-70870-JAD           Doc 225    Filed 03/16/21 Entered 03/16/21 14:45:04     Desc Main
                                      Document      Page 1 of 6



                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE:                                              Bankruptcy No. 18-70870-JAD

  LARRY FREDERICK and SHARON
  FREDERICK,                                          Chapter 11

           Joint Debtors.                             Related to Doc. No. 184, 205 and 224


  LARRY FREDERICK and SHARON
  FREDERICK,
           Movants,

                                                      Hearing Date: March 16, 2021 at 10:00 am
  v.
                                                      Response Deadline: February 16, 2021
  M&T BANK, THE UNITED STATES OF
  AMERICA FARM SERVICE AGENCY,
  CARGILL, INC., SUSQUEHANNA
  COMMERCIAL FINANCE, INC.,
  GROWMARK FS, LLC, FS FINANCIAL
  SERVICES, LLC, WELLS FARGO
  VENDOR FINANCIAL SERVICES, LLC,
  BLAIR COUNTY TAX CLAIM BUREAU,
  PENNSYLVANIA DEPARTMENT OF
  REVENUE, AND THE INTERNAL
  REVENUE SERVICE,

           Respondents.



                 STIPULATION AND CONSENT ORDER RESOLVING
            LIMITED OBJECTION TO JOINT DEBTORS’ MOTION FOR SALE
             OF REAL PROPERTY AND PERSONAL PROPERTY FREE AND
               CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES

        GROWMARK FS, LLC (“Growmark FS”) and FS Financial Services, LLC (“FS

 Financial”) (unless otherwise noted, together “Growmark”), with the consent of the Debtors,

 Larry Frederick and Sharon Frederick (the “Joint Debtors”), M&T Bank, and the United States
Case 18-70870-JAD            Doc 225    Filed 03/16/21 Entered 03/16/21 14:45:04             Desc Main
                                       Document      Page 2 of 6



 Department of Agriculture, Farm Service Agency (“FSA” and collectively with Growmark, the

 Joint Debtors, and M&T Bank, the “Parties”) file this Stipulation and Consent Order Resolving

 Limited Objection to Joint Debtors’ Motion for Sale of Real Property and Personal Property Free

 and Clear of All Liens, Claims and Encumbrances (the “Stipulation”).

         WHEREAS, on December 20, 2018 (the “Petition Date”), the Joint Debtors filed a

 voluntary petition for relief under chapter 11 of the United States Bankruptcy Code;

         WHEREAS, prior to the Petition Date, Growmark extended secured input and seed

 financing to the Joint Debtors, in connection with their dairy farm operations, as evidenced by

 those certain Note/Security Agreements dated October 21, 2016 (the “2016 NSA”) and October

 16, 2017 (the “2017 NSA”);

         WHEREAS, under the 2016 and 2017 NSA’s, the Joint Debtors granted to Growmark a

 security interest in and to all of their personal property, including, without limitation, all accounts,

 crops, livestock, farm products, machinery, equipment, seed, fertilizer, harvested and stored grain,

 milk and other supplies or products used in their dairy farm operations, and all products and

 proceeds derived therefrom (the “Collateral”);

         WHEREAS, Growmark’s security interest in the Collateral was perfected by properly filed

 UCC Financing Statements No. 2011042803932, dated April 28, 2011, continued by No.

 2016031801432, dated March 18, 2016;

         WHEREAS, the Joint Debtors defaulted on their obligations under the 2016 and 2017

 NSA’s (the “Defaults”).

         WHEREAS, based upon the Defaults and the funds owed to Growmark, Growmark filed

 proofs of claim at Claim No. 19 and Claim No. 20 on the Claims Register, which evidenced the




 TADMS:5467833-1 035987-190642                      2
Case 18-70870-JAD            Doc 225    Filed 03/16/21 Entered 03/16/21 14:45:04         Desc Main
                                       Document      Page 3 of 6



 claims of Growmark and FS Financial in the amount of $128,101.36 and $132,981.57,

 respectively;

         WHEREAS, on January 27, 2021, the Joint Debtors filed a Motion for Sale of Property

 Free and Clear of All Liens, Claims and Encumbrances (“Sale Motion”), wherein the Joint

 Debtors proposed to sell the Collateral and certain parcels of real estate to Eric and Jennifer

 Frederick (the “Buyers”), the son and daughter-in-law of the Joint Debtors, for an aggregate

 purchase price of $2,100,000 plus the assumption of the Joint Debtors’ obligations due and owing

 to Growmark to the extent of Growmark’s allowed secured claim under 11 USC § 506, if any, on

 the Collateral (the “Purchase Price”);

         WHEREAS, the proposed sale to the Buyers is subject to higher and better offers at an

 auction to be held before the United States Bankruptcy Court for the Western District of

 Pennsylvania (the “Bankruptcy Court”) on March 16, 2021;

         WHEREAS, the assets to be sold to the Buyers include two parcels of real estate, identified

 in the Sale Motion as 1098 Frederick Road and 1219 Frederick Road (together, the “Frederick

 Road Properties”) along with the Collateral;

         WHEREAS, pursuant to a Stipulation and Consent Order so ordered by the Bankruptcy

 Court and a separate Order of Court, both entered on February 19, 2021 (at ECF Document

 Numbers 211 and 212 and, collectively, referred to as the “Agreed Orders”), the Joint Debtors,

 M&T Bank, and the FSA agreed to allocate the Purchase Price for the Frederick Road Properties

 and Collateral as follows: (1) $1,575,000 for 1098 Frederick Road; (2) $525,000 for 1219

 Frederick Road; and (3) for each parcel of the Frederick Road Properties, 87.54% of the price will

 be allocated to real estate and 12.46% allocated to the Collateral. (the “Proposed Allocation”);




 TADMS:5467833-1 035987-190642                    3
Case 18-70870-JAD            Doc 225      Filed 03/16/21 Entered 03/16/21 14:45:04           Desc Main
                                         Document      Page 4 of 6



         WHEREAS, Growmark filed a limited objection to the Sale Motion through which it, inter

 alia, objected to the Proposed Allocation and also the proposed Sale Order to the extent the Sale

 Motion sought to subordinate Growmark’s lien on the Collateral to that of M&T Bank in an amount

 greater than $100,000 (the “Objections”);

         WHEREAS, to resolve the Objection, the Parties have agreed to the terms set forth below.

         AND NOW, based upon the foregoing, and with Growmark, the Joint Debtors, M&T Bank,

 and the FSA intending to be legally bound, it is hereby ORDERED, ADJUDGED, and DECREED

 that:

         1.       In the event of a closing on a sale of the Frederick Road Properties and the

 Collateral, Growmark shall hold an allowed secured claim against the Joint Debtors in the amount

 of $120,000 (the “Growmark Claim”).

         2.       The Growmark Claim shall be paid as follows:

                  a.       The amount of $55,000 shall be paid to Growmark by the Buyers (or any

                           purchaser who outbids the Buyers) at the time of closing of the sale of the

                           Frederick Road Properties.

                  b.       The remaining balance of the Growmark Claim in the amount of $65,000

                           shall be paid to Growmark by the Buyers (or any purchaser who outbids the

                           Buyers) in 65 equal monthly payments of $1,000 per month at 0% interest.

                  c.       Notwithstanding the foregoing, the Buyers (or any purchaser who outbids

                           the Buyers) shall have the option to pay the full amount of the Growmark

                           Claim at the time of closing of the sale of the Frederick Road Properties and

                           Collateral.




 TADMS:5467833-1 035987-190642                       4
Case 18-70870-JAD            Doc 225    Filed 03/16/21 Entered 03/16/21 14:45:04          Desc Main
                                       Document      Page 5 of 6



         3.       Until the Growmark Claim is paid in full, Growmark shall hold a first priority,

 perfected lien and security interest in and on the Collateral. For the avoidance of doubt, Growmark

 shall have no other claim to or lien against any of the sale proceeds other than the amounts to be

 paid by the Buyers (or any purchaser who outbids the Buyers) directly to Growmark pursuant to

 paragraphs 2.a and b above.

         4.       No sale to the Buyers or to any higher or better bidder shall be approved unless it

 provides for a sale free and clear of all liens and security interests existing on the Collateral

 transferred to the Buyers other than the lien of Growmark.

         5.       The enforceability of this Stipulation and Consent Order against Growmark is

 contingent upon the following conditions precedent (the “Conditions Precedent”): (i) the

 occurrence and completion of a closing on the Frederick Road Properties and the Collateral as

 contemplated by the Sale Motion; (ii) the receipt by Growmark of the initial $55,000 payment at

 closing; and (iii) execution and delivery by the Buyers (or any purchaser who outbids the Buyers

 at the sale hearing) to Growmark of documentation reasonably satisfactory to Growmark that

 grants Growmark a perfected first lien in and first-priority security interest upon all of the

 Collateral in the possession of the Buyers (or any purchaser who outbids the Buyers). In the event

 that the Conditions Precedent are not satisfied, Growmark shall retain all of its rights pursuant to

 and under the 2016 and 2017 NSA’s and with respect to its security interest in the Collateral and

 the rights and defenses of all parties to this Stipulation with respect to Growmark’s claim and

 asserted lien priority on the Collateral and any subordination agreements relating thereto are also

 retained and reserved.

         6.       The terms of this Stipulation may not be modified, revised, altered or changed to

 any extent, without the express written consent of Growmark, the Joint Debtors, and M&T Bank.




 TADMS:5467833-1 035987-190642                     5
Case 18-70870-JAD            Doc 225    Filed 03/16/21 Entered 03/16/21 14:45:04         Desc Main
                                       Document      Page 6 of 6



         7.       This Court shall retain jurisdiction over this matter to enforce the terms of this

 Stipulation.

                                                   SO ORDERED:
                                 3/16/2021
                                                   HON. JEFFERY A. DELLER
                                                   U.S. BANKRUPTCY JUDGE

 CONSENTED AND AGREED TO:

   /s/ Ryan J. Cooney                                 /s/ Ryan James
   Ryan J. Cooney (PA ID No. 319213)                  Ryan James (PA ID No. 82799)
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   Dated: March 16, 2021
                                                      Counsel for GROWMARK FS, LLC and
                                                      FS Financial Services, LLC

                                                      Dated: March 16, 2021


   /s/ William E. Kelleher, Jr.                       /s/ Jill Locnikar
   William E. Kelleher, Jr. (PA ID No. 30747)         Jill Locnikar (PA ID No. 85892)
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   Counsel for M&T Bank                               Dated: March 16, 2021

   Dated: March 16, 2021
                                                                               FILED
                                                                               3/16/21 2:23 pm
                                                                               CLERK
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 TADMS:5467833-1 035987-190642                    6                            COURT - :'3$
